  Case 20-10804-jkf         Doc 13      Filed 05/08/20 Entered 05/08/20 10:44:39                Desc Main
                                        Document      Page 1 of 2
                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Daniel J. Lewis
                                  Debtor(s)                                        CHAPTER 13

MIDFIRST BANK
                                  Movant
                  vs.
                                                                                 NO. 20-10804 JKF
Daniel J. Lewis
                                  Debtor(s)
Donna M. Reinhart
                                  Co-Debtor
Scott F. Waterman
                                  Trustee                                   11 U.S.C. Section 362and 1301

                            MOTION OF MIDFIRST BANK
              FOR RELIEF FROM THE AUTOMATIC STAY & CO-DEBTOR STAY
                            UNDER SECTION 362 and 1301

         1.        Movant is MIDFIRST BANK.

         2.        Debtor and Donna M. Reinhart, co-debtor are the owner(s) of the premises 615 Green Street,

 Bridgeport, PA 19405, hereinafter referred to as the mortgaged premises.

         3.        Movant is the holder of a mortgage, original principal amount of $178,451.00 on the

 mortgaged premises that was executed on June 15, 2007. Said mortgage was recorded on June 15, 2007 at

 Book 12152, Pages 02543 to 02554. The Mortgage was subsequently assigned to Movant by way of

 Assignment of Mortgage recorded on November 15, 2019, at Book 14796, Pages 02253 to 02256 in

 Montgomery County.

         4.         Scott F. Waterman, is the Trustee appointed by the Court.

         5.        The commencement and/or continuation of the mortgage foreclosure proceedings by reason

 of non-payment of monthly mortgage payments were stayed by the filing of a Chapter 13 Petition in

 Bankruptcy by the Debtor(s).

         6.        Debtor and Donna M. Reinhart, co-debtor have failed to make the monthly post-petition

 mortgage payments in the amount of $1,573.35 with late charges totaling $89.06 for the months of March

 2020 through May 2020.

         7.        In addition to the other amounts due to Movant reflected in this Motion, as of the date

 hereof, in connection with seeking the relief requested in this Motion, Movant has also incurred $850.00 in
Case 20-10804-jkf           Doc 13      Filed 05/08/20 Entered 05/08/20 10:44:39                Desc Main
                                        Document      Page 2 of 2
legal fees and $181.00 in legal costs. Movant reserves all rights to seek an award or allowance of such fees

and expenses in accordance with applicable loan documents and related agreements, the Bankruptcy Code

and otherwise applicable law.

        8.        The total amount necessary to reinstate the loan post-petition is $4,809.11 (plus attorney’s

fees & costs).

        9.        Debtor is currently delinquent in plan payments to the Chapter 13 Trustee in the amount of

$1,354.00.

        10.      Movant is entitled to relief from stay for cause.

        11.       This motion and the averments contained therein do not constitute a waiver by Movant of

its right to seek reimbursement of any amounts not included in this motion, including fees and costs, due

under the terms of the mortgage and applicable law.

        WHEREFORE, Movant prays that an Order be entered modifying the Stay and permitting Movant to

proceed with its mortgage foreclosure on the mortgaged premises, and to allow the Sheriff's Grantee to take

any legal action to enforce its right to possession of the mortgage premises. Further, Movant prays that an

Order be entered awarding Movant the costs of this suit, reasonable attorney's fees in accordance with the

mortgage document and current law together with interest.


                                                          /s/ Rebecca A. Solarz, Esquire
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